Case 7:22-cv-10656-VB Document 91-1 Filed 06/01/23 Page 1 of 10




                 Exhibit A
*****DRAFT*****
The Town of Forestburgh Town Board held their regular monthly meeting on Thursday, September 1,
2016 at the town hall.
Supervisor Hogue called the meeting to order at 7:00 p.m.
Roll Call: Present – Daniel S. Hogue, Jr., Supervisor
Katherine Barnhart, Councilwoman
John W. Galligan, Councilman
Susan Parks-Landis, Councilwoman
Steve Budofsky, Councilman
Absent – None
Recording
Secretary - Joanne K. Nagoda, Town Clerk
Others
Present – E. Danielle Jose-Decker – Attorney for the Town




                                                                                                            Case 7:22-cv-10656-VB Document 91-1 Filed 06/01/23 Page 2 of 10
REPORTS –
Supervisor Hogue submitted a report of monthly financial activity for the month of August 2016.
Town Clerk, Joanne Nagoda submitted a monthly report of clerk fees and activity for the month of
August 2016.
Justices Carroll and Gunther submitted a report of monthly justice court fees and activity for August
2016.
PUBLIC COMMENT –
Richard Robbins - Under Lost Lake phases and compliance and enforcement, I just want to stress, it’s my
perspective as a resident of the town, Lost Lake is a horrific thing. It got permission for an enormous
development; they got virtually everything they asked for and I think we, as a town should be strict in
how we enforce their compliance. We got off to a disappointing start by not requiring a performance
bond and not requiring a level of supervision and an escrow to pay for it. In looking forward, I think we
should be strict and ensure that they do what they are supposed to do and what they promised and
what they are required to do. I think we should set a tone for them that going forward that is going to
be our approach with them. I hope in your discussion of their compliance and enforcement that e keep
those things in line.
Sabina Toomey – It doesn’t have to do with the agenda, it has to do with old ears, and I’m not the only
one but we have those speakers are they evidence of a PA system – if we have one, why don’t we use it?
Supervisor Hogue replied that we’ve never used one down here – we can look into it.
1
Jim Steinberg – Here under local law for the tax cap – is this for 2016 or 2017? Supervisor Hogue
explained that we would pass the law in 2016 but it affects the 2017 budget. Mr. Steinberg asked if the
fire district must do the same thing. Supervisor Hogue stated even if you pass the law doesn’t mean you
are going to exceed the tax cap. Mr. Steinberg asked if it has to be done before a budget workshop or
the budget adoption. Attorney Jose stated it has to be done before the adoption of the budget.
Supervisor Hogue suggested doing it – there were questions how the district would do it since they can’t
enact legislation. Clerk Nagoda stated she believes with the fire district it can just be done by resolution.
MINUTES – Clerk Nagoda submitted minutes of the August 4, 2016 regular town board meeting for
review. MOTION by Councilwoman Landis, seconded by Councilman Galligan to accept the August
minutes as submitted. Vote: 5 ayes – 0 nays. Motion carried.
GENERAL FUND VOUCHERS - # 195 – 224 in the sum of $10,411.29 as set forth in abstract #10 were
audited for payment. MOTION by Councilman Galligan, seconded by Councilwoman Barnhart to pay the
general fund vouchers. Vote: 4 ayes – 0 nays. Motion carried. Councilwoman Landis abstained as one
voucher is hers from Forestburgh Day.




                                                                                                                Case 7:22-cv-10656-VB Document 91-1 Filed 06/01/23 Page 3 of 10
HIGHWAY FUND VOUCHERS - # 94 – 107 in the sum of $$6,078.83 as set forth in abstract # 10 were
reviewed. MOTION by Councilwoman Landis, seconded by Councilman Budofsky to accept the highway
fund vouchers. Vote: 5 ayes – 0 nays. Motion carried.
COMMUNICATIONS –
Clerk Nagoda read a letter from the Monmouth Council Boy Scouts thanking the board for allowing them
to use the pool facilities for their Discover Scuba program.
We also received correspondence from the Office of Court Administration requesting that the board
again audit the justice court docket and financials.
UNFINISHED BUSINESS
HIGHWAY SURPLUS EQUIPMENT - Back in February several pieces of equipment were declared surplus,
they were placed on an online auction, the following bids were received: a Heil Dump body $10.00,
another dump body $115.00, a salt spreader $36.00, a Rosco street broom $360.00 and 2004 Chevrolet
$920.00 and 1997 International $770 and a Seal Master Aggregate $26.00
MOTION by Councilman Galligan, seconded by Councilwoman Barnhart to accept the bids as received.
Vote: 5 ayes – 0 nays. Motion carried.
HIGHWAY HOURS – Clerk Nagoda stated that as of Monday the highway department will be back to
working five days per week from 7:00 a.m. to 3:30 p.m. as per the union contract.
BUILDING DEPARTMENT FEES – Last month, Building Inspector Glenn Gabbard made recommendation
to the board to increase the building permit fee schedule.
RESOLUTION AMENDING THE BUILDING DEPARTMENT FEE SCHEDULE
2
WHEREAS, the Town of Forestburgh (“Town”) has received a recommendation from the Building
Inspector, Glen Gabbard, to amend the fee schedule for permits issued by the Building Department; and
WHEREAS, the proposed changes have been posted on the Town website since August 8, 2016; and
WHEREAS, the proposed action is a Type II action pursuant to SEQRA which requires no further
environmental review; and
WHEREAS, the Town Board of the Town of Forestburgh finds that it is in the best interest of the Town of
Forestburgh to amend the fee schedule as recommended by the Building Inspector;
NOW THEREFORE BE IT RESOLVED that the Town Board of the Town of Forestburgh hereby
amends the fee schedule in accordance with the changes recommended by the Building Inspector, said
changes being annexed hereto.
MOTION by Councilman Budofsky, seconded by Councilwoman Landis to adopt the foregoing resolution
to increase the building permit fee schedule. Vote: 5 ayes – 0 nays. Motion carried.
INCREASING PLANNING BOARD MEMBERSHIP - RESOLUTION OF THE TOWN BOARD OF THE TOWN OF
FORESTBURGH SETTING A TIME AND PLACE FOR A PUBLIC HEARING WITH RESPECT TO ADOPTION OF




                                                                                                           Case 7:22-cv-10656-VB Document 91-1 Filed 06/01/23 Page 4 of 10
PROPOSED LOCAL LAW 3 OF 2016 ENTITLED “A LOCAL LAW AMENDING SECTION 28-2 AND 28-3 OF
THE TOWN CODE ENTITLED ‘CREATION OF PLANNING BOARD’ ”
WHEREAS, the Town Board of the Town of Forestburgh recognizes the need to amend the
current town law to provide for two additional members to sit on the Planning Board; and
WHEREAS, the Town Board has been advised that a Local Law is required to amend an existing
law; and
WHEREAS, the proposed Local Law #3 of 2016, entitled “Local Law Amending Section 28-2 and
28-3 of the Town Code entitled ‘Creation of Planning Board’ ” has been duly introduced; and
WHEREAS, adoption of the proposed Local Law is a Type II action and can be adopted without
further regard to SEQRA; and
WHEREAS, the Town Board of the Town of Forestburgh wishes to set a time and place
for a public hearing with respect to proposed Local Law #3 of 2016, so that the public may be heard; and
NOW, THEREFORE, it is hereby
RESOLVED, that a public hearing be held by the Town Board of the Town of Forestburgh with
respect to the aforesaid proposed Local Law at 7:05 p.m. on October 6, 2016, at Forestburgh Town Hall,
332 King Rd., Forestburgh, New York 12777; and it is further
RESOLVED, that the Town Clerk is hereby authorized and directed to cause public notice of said
hearing to be given as provided by law.
3
MOTION BY: Councilman Galligan
SECOND BY: Councilman Budofsky
VOTE: 5 ayes – 0 nays.
BY ORDER OF THE TOWN BOARD OF THE TOWN OF FORESTBURGH, NY.
EMPLOYEE HANDBOOK – Final revisions are being typed up and the final amendments are being added.
Matter tabled.
PLANNING BOARD & ZBA SECRETARY – You all have copies of letters of interest from two candidates,
Anthony Cardoso and Nicole Lawrence. Supervisor Hogue stated that he would also like to schedule a
budget workshop, we could invite the applicants and interview them at that time. Matter tabled.
2017 BUDGET WORKSHOP – Discussion was held on holding a budget workshop. MOTION by
Councilwoman Barnhart, seconded by Councilman Galligan to hold a budget workshop on Wednesday,
September 21, 2016 at 4:30 in the town hall. At that time the candidates for planning board secretary
will also be interviewed. Vote: 5 ayes – 0 nays. Motion carried.
SUBDIVISION REGULATIONS UPDATES – Councilwoman Barnhart stated it is a lot of work to go through




                                                                                                             Case 7:22-cv-10656-VB Document 91-1 Filed 06/01/23 Page 5 of 10
the proposed changes to the subdivision regulations. There have been some good recommendations
and proposed changes. MOTION by Councilwoman Barnhart, seconded by Councilman Galligan to refer
this to planning board for review and recommendations. Vote: 5 ayes – 0 nays. Motion carried.
PROPOSED KENNEL LAW – Previously this had been sent to the planning board for review, our attorney
has redrafted the proposed legislation. Motion BY Councilman Budofsky, seconded by the Councilman
Galligan to send proposed redrafted legislation to the planning board for further review. Vote: 5 ayes – 0
nays. Motion carried.
LOST LAKE COMPLIANCE/ENFORCEMENT – We have the monthly update from Lost Lake, however there
have been some questions on their compliance. Councilwoman Barnhart states that she travels St.
Joseph Road and has noticed large equipment in on the south side of the road. Supervisor Hogue stated
that there was question if it part of the site plan itself. Councilwoman Barnhart stated that she had read
the findings statement and provided a copy for Attorney Jose. It appears to her that the anything on the
south side of St. Joseph Road is the final and last phase. It appears that they are working on something
for which they have not obtained approval or permits for. It clearly states that when the first phase is
completed they will appear before the town board for approval of the next phase and they have clearly
not done this. My point is this, if they are doing work on another phase that has not been approved,
they we are doing what the previous board did, and it has to be bonded and they have to pay for regular
inspections by our guy. That is my concern and I’m not sure what the next step is. Attorney Jose stated
that she does not have a file on this. She does not know what was approved or not, she does not know
the phases are. Discussion was held to exemption of projects having received approval from either the
town board/planning board or the code enforcement officer actually being exempt from the logging law.
Councilman Galligan stated that in his opinion, they are the best thing to happen to Forestburgh and the
4
creation of 400 new homes lots is certainly helping out. They are a class “A” outfit. I don’t want to see us
as a town board get in an antagonistic relationship with Lost Lake. Maybe someone can go up there and
discuss it with them. Councilwoman Barnhart stated that they cannot just move on to the next phase
when they want without supervision. I don’t want to antagonize them either. Councilman Galligan again
stressed not getting antagonistic and confrontational with them. Councilman Budofsky stated that
perhaps it will be proven to be an error. Supervisor Hogue stated if they are indeed putting in
infrastructure such as roads, for a subsequent phase – Councilman Galligan stated he is sure they have a
good reason for whatever they did. Fire Chief Petrowsky stated that he was just in there reviewing
some matters of fire protection part of what they are working on is surveying and part of phase one is
the water supply – there is to be a water tank and their wells are down on Cold Spring on the North side
but their storage tanks are one the south side. They have five people who are ready and willing to build
but can’t because there is no water supply yet. They have one well there to supply the sales office and
that’s it. For most of phase 1 the water and sewer infrastructure is in place. Supervisor Hogue stated
that would be a good, legitimate answer to why they are on the south side. Councilwoman Barnhart




                                                                                                                  Case 7:22-cv-10656-VB Document 91-1 Filed 06/01/23 Page 6 of 10
stated if it’s in the plan, then it’s in the plan. But if they are in there on their own, I think we have to be
concerned about it. Sally Jasuta asked if we have a go to person with Lost Lake. Supervisor Hogue replied
we have our engineer who is doing regular inspections. Ms. Jasuta replied then you should be asking
him. Clerk Nagoda stated that we didn’t screw up or drop the ball on this. We have never had a project
of this magnitude ever in town – our attorney at the time dropped the ball – we relied on them.
Councilwoman Barnhart stated there still should have been a bond and I don’t want us to make the
same mistake. Councilman Galligan stated that when they go on to phase II then we will get a bond it
will part of the approval process for phase II.
NEW BUSINESS
TAX CAP OVERRIDE – Tonight we are introducing a Local Law to override the tax cap and we need to
schedule a public hearing.
RESOLUTION OF THE TOWN BOARD OF THE TOWN OF FORESTBURGH SETTING A TIME AND PLACE FOR
A PUBLIC HEARING WITH RESPECT TO ADOPTION OF PROPOSED LOCAL LAW 2 OF 2016 ENTITLED “A
LOCAL LAW TO OVERRIDE THE TAX LEVY LIMIT ESTABLISHED IN GENERAL MUNICIPAL LAW 3-C.”
WHEREAS, according to New York State’s new Property Tax Cap legislation, if a town
government decides to adopt a town budget with a property tax levy that exceeds the level set by the
State, the Town Board must pass a local law to override that cap; and
WHEREAS, information from New York State that enables calculation of the Town’s 2017
property tax cap is not available until late summer; and
WHEREAS, in the event the Town’s annual tax levy exceeds the allowable tax levy limit
voluntarily or due to clerical or technical errors, New York State has the authority to penalize our Town
unless we have already formally given ourselves permission to exceed the tax cap; and
5
WHEREAS, adopting the proposed local law is not predictive of the final tax levy but will provide
the Town Board of the Town of Forestburgh flexibility to exceed the Property Tax Cap if it is deemed
necessary; and
WHEREAS, the proposed adoption of the proposed local law is a Type II action which does not
require further review under SEQRA.
NOW THEREFORE BE IT RESOLVED, that a public hearing be held by the Town Board of the Town of
Forestburgh with respect to the aforesaid proposed Local Law at 7:00 p.m. on October 6, 2016, at
Forestburgh Town Hall, 332 King Rd., Forestburgh, New York 12777; and be it further
RESOLVED, that the Town Clerk is hereby authorized and directed to cause public notice of said
hearing to be given as provided by law.
MOTION BY: Councilman Galligan
SECOND BY: Councilman Budofsky
VOTE: 5 ayes – 0 nays.
BY ORDER OF THE TOWN BOARD OF THE TOWN OF FORESTBURGH, NY.




                                                                                                       Case 7:22-cv-10656-VB Document 91-1 Filed 06/01/23 Page 7 of 10
BUDGET TRANSFERS –
RESOLUTION – 2016 GENERAL FUND & HIGHWAY BUDGET MODIFICATIONS
WHEREAS, the Town of Forestburgh is in need of doing 2016 General Fund & Highway Budget
modifications for unallocated expenditures/expenditures exceeding budget allocations; and
WHEREAS, the proposed action is a Type II action pursuant to SEQRA which requires no further
environmental review; and
WHEREAS, the following budget modifications               are  needed    for    the   unallocated
expenditures/expenditures exceeding budget allocations:
Amount                      From                   Amount                         To
(Budget Line Number & Name)                         (Budget Line Number & Name)
$40,000.00         DA5130.20 – Machinery &         $40,000.00         DA9010.80 – NYS Retirement
Equipment
6
$20,000.00          DA5110-40 – Maint. Of Sts.       $20,000.00         DA9060.80-Health Ins.
$1,000.00           A3510.40 – Dog Control           $1,000.00          A3620.20 – Code Ofcr. Equip.
NOW, THEREFORE, BE IT RESOLVED: that the Town Board of the Town of Forestburgh approve
the above listed 2016 General Fund & Highway Budget Modifications.
MOTION BY: Councilman Budofsky
SECOND BY: Councilwoman Barnhart
VOTE: 5 ayes – 0 nays.
ADOPTED BY THE TOWN BOARD OF THE TOWN OF FORESTBURGH
BUILDING DEPARTMENT SOFTWARE PURCHASE – Last month we discussed purchasing an additional
software module for the building department to track complaints and violations, however we never
made a formal resolution to purchase it. MOTION by Supervisor Hogue, seconded by Councilman
Budofsky to purchase the complaint/violation module from BAS software. Vote: 5 ayes – 0 nays. Motion
carried.
COMMITTEE REPORTS




                                                                                                              Case 7:22-cv-10656-VB Document 91-1 Filed 06/01/23 Page 8 of 10
Planning Board - Chairman Robbins stated we did not have a meeting as there was nothing on the
agenda. We have not yet heard back from the prospective applicant for Tent Days for the country club
property. I understand they are in final negotiations on the contract. Clerk Nagoda stated that the
engineer for Tent Days was in today looking for information on water and gallons per minute as well as
pump test results from the wells that were drilled by Black Creek. Chair Robbins continued that we will
meet this month since you have referred three matters for our review.
Recreation – Summer program has ended. Due to lifeguard shortages, the pool may only be open on
Saturday. Additionally, we have been working with the Boy Scouts to possibly have them teach a
lifeguarding course to our counselors and anyone who wants it to eliminate our lifeguard shortage.
Councilwoman Barnhart asked about a leak that was mentioned at the last meeting. Clerk Nagoda
replied that she had it fixed. She further asked if we had the list of participants for the summer program.
Clerk Nagoda replied that he still has the book as he has yearend reporting to do for the county.
Historian – Sadly County Historian John Conway was unable to join us on Forestburgh Day, but I was glad
to be able to share what I know about Stephen Crane. I know that everyone has seen the new garden
and we have a core group of volunteers to expand our renaissance group. They have also offered a
continuation to purchase and plant bulbs for the fall and spring. Identified for next year’s area is the
pool area/playground and on the side of building where the time capsule is buried we are going to make
7
a meditation garden. I also have to thank the members of the highway department for all of their help
with watering the garden.
Seniors – We will be taking a trip to Ernhard’t in Lake Wallenpaupack on Thursday Sept. 8 – all are
welcome to join us. I would just like to thank those who came out and supported us on Forestburgh Day.
We had Mrs. Hogue out on the grill along with fireman Ron Geysen and Mr. Amaditz. There were many
who made the day special.
Forestburgh Day – It was a wonderful day – the 5K raised over $29,000 for Hospice and the 50/50 raised
$91.00 for the old town hall. Kudos to Councilwoman Landis and everyone who worked on it and to the
race committee as well. Councilwoman Landis thanked the fire company; they stepped up, came back
and joined together.
Comprehensive Plan Review Committee – WE met on August 11 and the next meeting is September 26
at 7:00 p.m. in the town hall. We are gathering information to update the whole comprehensive plan.
It’s really interesting and I encourage people to come to the meeting.
Fire Department – We received a call from Tent Days, they want to meet with us to develop their fire




                                                                                                                 Case 7:22-cv-10656-VB Document 91-1 Filed 06/01/23 Page 9 of 10
prevention plan. Back in 2014 the fire district sent the town a letter regarding gated driveways. Now that
we have a code enforcement officer maybe he can start going around and getting these driveways up to
the Uniform Fire Code. There are 46 driveways in this town that are chained, gated or cabled. He added
that if their insurance companies found out we couldn’t have access or were delayed they probably
wouldn’t have it anymore. I know the town already sent a letter to the county on County Route 108, the
county will be receiving a letter from the fire district on Tuesday about the condition of Route 108. Right
now we have to travel down to Hartwood Road to Cold Spring and it takes us much longer. Mr.
Steinberg stated that they sent their letter to the county clerk, that way if anything happens, there is
prior written notice. Copies also went to every legislator, Dick Martinkovic who is the County Emergency
Management Commissioner and the county attorney and Ed McAndrew, DPW Commissioner. Their prior
concern was blamed on truck traffic for Lost Lake. 95 percent of the truck traffic comes down Cold
Spring Road. Sullivan County right now is the only county in New York State that has a dirt road.
Chief Petrowsky stated at last month’s meeting we had five new members join and at last night’s
meeting we had two new members join and a social member go from social to firefighter. We are now
at the highest member count we have ever been in 53 years. Last night was the highest attendance ever
at a monthly meeting – we had 22 members.
Supervisor Hogue stated one more thing that he just received from our assessor tonight, and it’s not
good news. Monticello School District is a 10.5% increase and Port Jervis is 8.8% increase. Our assessor is
very confident that the reval will help with this. Last year the equalization rate was 8.44 this year it is
7.64
Sabina Toomey asked the board to be very diligent in not exceeding the 2% tax cap. Supervisor Hogue
replied that the state calls it a 2% tax cap – but by they get done with their calculations, this year the tax
cap is .6%. When the mandates come down and the retirement and health insurance goes up you have
already exceeded the tax cap. Commissioner Steinberg stated that in the fire district for us not to exceed
the tax cap we can only raise our budget $380.
PUBLIC COMMENT – None.
8
COUNTY ACTIVITIES – If any of you see any of the legislators – two or three years ago they talked about
the casino being built and now it is. We talked about tax sharing with the previous legislature and they
approved the formula to share in the tax revenue over a certain percentage. The current legislature is
talking about taking this off of the table and not sharing anything. So if you see any of the legislators –
tell them we want and need this. It would help ease some of the burden on us. It would benefit every
town in the county.
EXECUTIVE SESSION – MOTION by Councilwoman Landis, seconded by Councilman Budofsky to enter
into executive session for the reason of personnel of a specific person. Vote: 5 ayes – 0 nays. Motion
carried.
MOTION by Councilwoman Barnhart, seconded by Councilman Galligan to reconvene into regular
session. Vote: 5 ayes – 0 nays. Motion carried.
MOTION by Councilman Budofsky, seconded by Supervisor Hogue to appoint Regina Gunther to the
position of Justice Court Clerk and approve her attendance at clerk school in September. Vote:: 5 ayes –
0 nays. Motion carried.




                                                                                                              Case 7:22-cv-10656-VB Document 91-1 Filed 06/01/23 Page 10 of 10
ADJOURNMENT - MOTION by Councilwoman Barnhart to adjourn at 8:17 p.m.
Respectfully submitted,
Joanne K. Nagoda,
Town Clerk
9
